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15   Attorneys for Plaintiffs
     Oracle USA, Inc., Oracle America, Inc., and
16   Oracle International Corp.

17                               UNITED STATES DISTRICT COURT

18                                     DISTRICT OF NEVADA

19   ORACLE USA, INC., a Colorado corporation;        Case No. 2:10-cv-0106-LRH-VCF
     ORACLE AMERICA, INC., a Delaware
20   corporation; and ORACLE INTERNATIONAL            DECLARATION OF BEKO
     CORPORATION, a California corporation,           REBLITZ-RICHARDSON IN
21                                                    SUPPORT OF ORACLE’S MOTION
                   Plaintiffs,                        TO DEPOSIT ATTORNEYS’ FEE
22                                                    AWARD WITH THE COURT
            v.
23                                                    Judge: Hon. Larry R. Hicks
     RIMINI STREET, INC., a Nevada corporation;
24   AND SETH RAVIN, an individual,
25                 Defendants.
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         DECLARATION OF BEKO REBLITZ-RICHARDSON IN SUPPORT OF ORACLE’S
            MOTION TO DEPOSIT ATTORNEYS’ FEE AWARD WITH THE COURT
       Case 2:10-cv-00106-LRH-VCF Document 1115 Filed 03/13/18 Page 2 of 4



 1          I, Beko Reblitz-Richardson, declare as follows:

 2          1.        I am an attorney admitted to practice law in the State of California and before the

 3   Court in this action pro hac vice. I am a partner with Boies Schiller Flexner LLP, counsel to

 4   Plaintiffs Oracle USA, Inc., Oracle America, Inc., and Oracle International Corporation

 5   (collectively “Oracle”) in this action. I make this declaration in support of Oracle’s Motion to

 6   Deposit Attorneys’ Fee Award with the Court. I have firsthand knowledge of the contents of this

 7   declaration and I could testify thereto.

 8          2.        On October 18, 2016, the Court entered final judgment against Defendants Rimini

 9   Street, Inc. and Seth Ravin (collectively “Rimini”) and awarded Oracle $124,291,396.82 in

10   damages, attorneys’ fees, costs, and prejudgment interest, plus post-judgment interest through

11   the date of payment. On October 31, 2016, Rimini paid that judgment in full, including post-

12   judgment interest, in the amount of $124,330,923.27. See ECF Nos. 1096, 1097.

13          3.        Rimini appealed to the Ninth Circuit. After the Ninth Circuit issued its opinion,

14   Rimini petitioned for rehearing en banc, limited to the issues of prejudgment interest and non-

15   taxable costs. The Ninth Circuit denied Rimini’s petition on March 2, 2018. Attached as Exhibit

16   1 is a true and correct copy of the order denying Rimini’s petition.

17          4.        The appellate mandate issued on March 13, 2018. Attached as Exhibit 2 is a true

18   and correct copy of the mandate.

19          5.        Oracle will promptly file, no later than March 23, 2018 (fewer than 14 days from

20   the issuance of the appellate mandate), renewed motions for a permanent injunction and for

21   attorneys’ fees. Oracle will seek the full amount of attorneys’ fees previously awarded and paid

22   to Oracle ($28,502,246.40).

23          6.        Attached as Exhibit 3 is a true and correct copy of Rimini’s June 28, 2016 press

24   release.

25          7.        Attached as Exhibit 4 is a true and correct copy of Rimini’s October 11, 2017

26   press release.

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         DECLARATION OF BEKO REBLITZ-RICHARDSON IN SUPPORT OF ORACLE’S
            MOTION TO DEPOSIT ATTORNEYS’ FEE AWARD WITH THE COURT
       Case 2:10-cv-00106-LRH-VCF Document 1115 Filed 03/13/18 Page 3 of 4



 1             8.     Attached as Exhibit 5 is a true and correct copy of excerpts of Rimini’s December

 2   1, 2017 Form S-1 Registration Statement. The full document is available at

 3   https://www.sec.gov/Archives/edgar/data/1635282/000114420417061975/tv480605_s1a.htm.

 4             9.     Attached as Exhibit 6 is a true and correct copy of Rimini’s January 24, 2018

 5   press release.

 6             10.    Attached as Exhibit 7 is a true and correct copy of Rimini’s March 6, 2018 Form

 7   S-8/S-3 Registration Statement.

 8             11.    Attached as Exhibit 8 is a true and correct copy of Rimini’s March 6, 2018 Form

 9   8-K, which includes a copy of Rimini’s March 6, 2018 press release.

10             I declare that the foregoing is true under penalty of perjury of the laws of the United

11   States.

12             Executed this 13 day of March, 2018 at Oakland, California.

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                                                             /s/ Beko Reblitz-Richardson
15                                                           Beko Reblitz-Richardson
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         DECLARATION OF BEKO REBLITZ-RICHARDSON IN SUPPORT OF ORACLE’S
            MOTION TO DEPOSIT ATTORNEYS’ FEE AWARD WITH THE COURT
       Case 2:10-cv-00106-LRH-VCF Document 1115 Filed 03/13/18 Page 4 of 4



 1                                   CERTIFICATE OF SERVICE
 2          I certify that on March 13, 2018, I electronically transmitted the foregoing

 3   DECLARATION OF BEKO REBLITZ-RICHARDSON IN SUPPORT OF ORACLE’S

 4   MOTION TO DEPOSIT ATTORNEYS’ FEE AWARD WITH THE COURT to the Clerk’s

 5   Office using the Electronic Filing System pursuant to Local Rules Section 1C.

 6   Dated: March 13, 2018                      BOIES SCHILLER FLEXNER LLP
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 8                                              By: /s/ Ashleigh Jensen
                                                   Ashleigh Jensen
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                                      CERTIFICATE OF SERVICE
